Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 1 of 13 Page ID #:32069




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   12                            UNITED STATES DISTRICT COURT
   13              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
   15 VANESSA BRYANT,                                  Case No. 2:20-cv-09582-JFW-E
                                                       (Consolidated with 2:20-cv-10844-
   16         Plaintiff,                               JFW-E)

   17              vs.                                 JOINT STATEMENT RE
                                                       DISPUTED JURY INSTRUCTION
   18 COUNTY OF LOS ANGELES, et al.,                   RE PLAINTIFFS’ VIOLATION OF
                                                       WITNESS EXCLUSION ORDER
   19         Defendants.
                                                       [Filed in Concurrently with
   20                                                  Declarations of Mira Hashmall, Adam
   21 CHRISTOPHER L. CHESTER,                          Bercovici, and Luis Li]
   22         PLAINTIFF,

   23              vs.                                 Trial Date: August 10, 2022

   24                                                  The Honorable John F. Walter
        COUNTY OF LOS ANGELES, et al.,
   25
                         Defendants.
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                         JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                                    VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 2 of 13 Page ID #:32070




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                               VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 3 of 13 Page ID #:32071




    1                   DISPUTED INSTRUCTION RE PLAINTIFFS’ VIOLATION
    2                              OF WITNESS EXCLUSION ORDER
    3
                   A.     Defendants’ Proposed Instruction re Plaintiffs’ Violation of
    4                     Witness Exclusion Order
    5              The Court ordered that all witnesses shall be excluded from the courtroom
    6 except during their own testimony. The purpose of this order is to prevent witnesses
    7 from tailoring their testimony to that of earlier witnesses. Plaintiffs violated this
    8 Court order when they permitted their expert, Adam Bercovici, to sit through the
    9 testimony of other witnesses before giving his trial testimony on August 12, 2022.
   10 You may take into account these facts in assessing the credibility and weight to be
   11 given to Mr. Bercovici’s testimony during your deliberations.
   12              B.     Defendants’ Legal Position
   13              Plaintiffs’ expert Adam Bercovici testified on Friday, August 12, 2022.
   14 During his testimony, Plaintiffs admitted that Mr. Bercovici had been present in the
   15 courtroom during the previous testimony of Deputy David Katz. (Declaration of
   16 Mira Hashmall (“Hashmall Decl.”) Ex. 2 at 534:20-535:4.) Since then, Plaintiffs
   17 disclosed that Mr. Bercovici had also been present for Rob Pelinka’s testimony. (Id.
   18 ¶ 7 & Ex. 3.) By allowing Mr. Bercovici to sit in on other witnesses’ testimony,
   19 Plaintiffs violated a Court order.
   20              The Court previously excluded all witnesses from the courtroom prior to
   21 testifying, consistent with Rule 615 (the “Exclusion Order”). (Id. Ex. 1 at 9:8-10.)
   22 There are multiple signs outside the courtroom—both on the digital screen and a
   23 physical sign—reiterating this instruction. The Exclusion Order is important to
   24 prevent witnesses from adapting or tailoring their testimony to that of earlier
   25 witnesses. Taylor v. U.S., 388 F.2d 786, 788 (9th Cir. 1967) (“The exclusion of
   26 witnesses from the courtroom during trial is a time-honored practice designed to
   27 prevent the shaping of testimony by hearing what other witnesses say.”); see also
   28 Fed. R. Evid. 615.
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                          JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                                     VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 4 of 13 Page ID #:32072




    1              Plaintiffs’ violation of the Exclusion Order was not inadvertent. When
    2 Defendants’ counsel identified Plaintiffs’ violation, Plaintiffs’ counsel argued that
    3 Mr. Bercovici was entitled to watch other witnesses’ testimony because he is an
    4 expert. (Hashmall Decl. Ex. 2 at 534:24-25.) Plaintiffs never requested any
    5 exception to the Exclusion Order. Instead, they “reinterpreted” the Court’s
    6 Exclusion Order and allowed Mr. Bercovici to hear other witnesses’ testimony
    7 before he testified.
    8              Immediately after Mr. Bercovici’s testimony and during a 15-minute trial
    9 break, Plaintiffs notified Defendants via email that they intended for Mr. Bercovici
   10 to stay in the courtroom for the remainder of trial. (Hashmall Decl. ¶ 5 & Ex. 3.)
   11 When Defendants raised the issue with the Court, the Court agreed it was improper:
   12 “He shouldn’t have been here the last time, and he won’t be here now.” (Id. Ex. 2 at
   13 653:18-22.)
   14              The Court should enforce its Exclusion Order and instruct the jury to consider
   15 the violation in assessing Mr. Bercovici’s credibility. See Taylor v. U.S., 388 F.2d
   16 786, 788 (9th Cir. 1967) (citing Holder v. United States, 150 U.S. 91, 92 (1893))
   17 (establishing available remedies for violation of a sequestration order); Hill v. Porter
   18 Mem'l Hosp., 90 F.3d 220, 223 (7th Cir. 1996) (instructing the jury that, in assessing
   19 an expert witness’s credibility, it could consider the fact that the expert had
   20 reviewed another witness’s trial testimony before testifying); 75 Am. Jur. 2d Trial §
   21 183 (2d ed. 2022) (“where a witness disobeys an order excluding witnesses, the fact
   22 of disobedience may go to the jury as bearing on his or her credibility”).
   23              By sitting in on prior witness testimony, Mr. Bercovici was able to tailor and
   24 adapt his opinions. There is no way for Defendants to know how and to what extent
   25 Mr. Bercovici’s testimony was tainted by the violation of the Court’s Exclusion
   26 Order. The appropriate way to cure this prejudice—albeit imperfect given that the
   27 jury has already heard hours of his testimony—is to provide Defendants’ proposed
   28 instruction.
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                         JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                                    VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 5 of 13 Page ID #:32073




    1              Plaintiffs’ argument that Defendants could have cured this prejudice by cross-
    2 examining Mr. Bercovici about their violation is wrong. Cross-examination would
    3 only have elicited more self-serving and tainted testimony; it would not have been
    4 sufficient. Moreover, Plaintiffs did not disclose the full extent of the violation until
    5 days after Mr. Bercovici testified. Defendants could not possibly have cured the
    6 prejudice through cross-examination when they learned about the violation seconds
    7 earlier and still did not know the full extent of it. There is still no way for
    8 Defendants to know whether and to what extent Mr. Bercovici tailored his testimony
    9 after hearing other witnesses testify.
   10              Plaintiffs argue that cross-examination is the “preferred” method to remedy a
   11 Rule 615 violation. Their cases on this point are inapposite. Indeed, none of
   12 Plaintiffs’ cases ruled on a proposed jury instruction. See United States v.
   13 Robertson, 895 F.3d 1206, 1216 (9th Cir. 2018) (reviewing only the district court’s
   14 sanction to allow cross-examination where the defendant made “no argument” for
   15 why this remedy was insufficient); U.S. v. Hobbs, 31 F.3d 918, 923 (9th Cir. 1994)
   16 (reviewing only the district court’s disqualification of the witness for Rule 615
   17 violation); Mahon v. United States, 2018 WL 8188212, at *50 (D. Ariz. Nov. 5,
   18 2018) (no indication an instruction proposed and movant made “no argument” for
   19 why cross-examination was insufficient).
   20              Plaintiffs further argue that they had an honest but mistaken belief that the
   21 Exclusion Order did not apply to experts. They rely on Robertson and Hobbs to
   22 argue that when a violation is “minor or inadvertent,” the remedy should simply be
   23 cross-examination. Neither case supports Plaintiffs’ position. In Robertson, the
   24 party had violated Rule 615 by providing the witness with transcripts of a pretrial
   25 proceeding before the witness testified at trial. 895 F.3d at 1215. The district court
   26 assumed a violation had occurred but questioned whether allowing a witness to
   27 review pre-trial transcripts constituted a Rule 615 violation. Id. Robertson is
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                                                      -5-
                         JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                                    VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 6 of 13 Page ID #:32074




    1 nothing like the facts of this case. Notably, the court in Robertson also permitted
    2 the defense to address the violation in closing arguments. 895 F.3d at 1215.
    3        In Hobbs, the Rule 615 violation occurred because the defense witnesses
    4 entered the courtroom after the proceeding had begun while defense counsel was
    5 conducting an examination, and thus had his back to the spectators. 31 F.3d at 922.
    6 Thus, counsel was not even aware of the witnesses’ presence, and there was no
    7 evidence that the witnesses had been aware of the exclusion order. Id.
    8        Here, Plaintiffs concede they were aware of the Exclusion Order but thought
    9 it did not apply to their witness. Instead of seeking clarification or an exception
   10 from the Court, they “reinterpreted” the Court’s Exclusion Order and allowed
   11 Mr. Bercovici to sit in the courtroom for multiple witnesses’ testimony. The jury
   12 should be entitled to consider Plaintiffs’ violation in assessing Mr. Bercovici’s
   13 credibility.
   14        C.      Plaintiffs’ Legal Position
   15        Defendants’ request for an adverse inference instruction should be denied
   16 because Plaintiffs’ violation was minor and inadvertent, and because Defendants fail
   17 to establish that they suffered any prejudice that was not cured by Defendants’
   18 opportunity to cross-examine Mr. Bercovici about the violation.
   19        Rule 615 of the Federal Rules of Evidence governs orders excluding
   20 witnesses from trial. Although courts have discretion to impose sanctions for
   21 violations of a Rule 615 order, any sanction imposed must be proportional to the
   22 severity of the violation. See Doyle v. Murray, 938 F. 2d 33, 34 (4th Cir.
   23 1991) (noting that sanctions must be “fixed in proportion to the severity of a party’s
   24 or lawyer’s misconduct”); see also United States v. Robertson, 895 F.3d 1206, 1216
   25 (9th Cir. 2018) (opportunity to cross-examine offending witness sufficient without
   26 further sanction); Mahon v. United States, 2018 WL 8188212, at *50 (D. Ariz. Nov.
   27 5, 2018), report and recommendation adopted, No. CR-09-00712-PHX-DGC, 2019
   28 WL 1556147 (D. Ariz. Apr. 10, 2019) (same).
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                                            -6-
                     JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                                VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 7 of 13 Page ID #:32075




    1         The Ninth Circuit has “long recognized cross-examination as a suitable
    2 remedy for a Rule 615 violation,” particularly when the violation is minor or
    3 inadvertent. Robertson, 895 F.3d at 1216; see United States v. Hobbs, 31 F.3d 918,
    4 921 (9th Cir. 1994) (“cross-examination concerning the violation” as remedy).
    5 Indeed, an unpublished Ninth Circuit decision describes cross-examination of the
    6 offending witness as “a recognized method—if not the preferred method—of
    7 remedying a violation of a sequestration order.” United States v. Riggs, 184 F.
    8 App’x 651, 652 (9th Cir. 2006) (emphasis added); see United States v. Erickson, 75
    9 F. 3d 470, 479-80 (9th Cir. 1996) (explaining that the “usual remedy of cross-
   10 examination” was sufficient to address concern that witness who sat through earlier
   11 testimony tailored her testimony to “smooth over inconsistencies”).
   12         In Robertson, for instance, the Ninth Circuit affirmed the district court’s
   13 decision to cure a violation of a sequestration order through cross-examination
   14 rather than a more severe remedy. Robertson, 895 F.3d at 1216. The government
   15 allowed two agent witnesses to review transcripts of a pretrial evidentiary hearing
   16 before testifying at trial based on the mistaken belief that reviewing transcripts from
   17 a hearing did not violate the court’s sequestration order. Id. at 1215. The Ninth
   18 Circuit held that this conduct did violate the order, but it affirmed the district court’s
   19 decision “that cross-examination of [the witness] in front of the jury was sufficient
   20 to cure any unintentional violation.” Id. The Ninth Circuit noted the apparent
   21 absence of intent to violate the order and the defendant’s failure to explain why “this
   22 common remedy was insufficient under the circumstances presented here.” Id.
   23         The same reasoning applies here because Plaintiffs’ violation was inadvertent
   24 and Defendants point to no prejudice that was not cured by their opportunity to
   25 cross-examine.
   26         As to intent, counsel for Plaintiffs mistakenly but honestly believed that the
   27 witness exclusion order did not apply to experts, and invited Mr. Bercovici to attend
   28 a portion of the trial on August 11 under that mistaken but genuine belief.
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                                               -7-
                     JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                                VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 8 of 13 Page ID #:32076




    1 (Declaration of Luis Li [“Li Decl.”] ¶ 2.) Counsel for Plaintiffs fully recognize that
    2 they should have confirmed that understanding with the Court and obtained the
    3 Court’s approval before Mr. Bercovici observed any testimony, and they sincerely
    4 apologize for failing to do that. (Id. ¶ 3.) But Mr. Bercovici’s trial examination
    5 underscores the absence of any malintent. During his examination, it was Plaintiffs
    6 who elicited from Mr. Bercovici that he had observed the testimony of another
    7 witness. (Li Decl. Ex. A [Aug. 12, 2022 Tr. Tran.] at 534:20-535:4 (“Q Now, were
    8 you sitting in court a few days ago when a Reserve Deputy David Katz testified?
    9 [objections and colloquy omitted] THE WITNESS: I was.”).) Plaintiffs’
   10 transparency is inconsistent with an intent to deceive and establishes that their
   11 noncompliance resulted from a mistaken understanding, not an effort to secure an
   12 unfair advantage.
   13         As to prejudice, Defendants point to no facts suggesting that the “common
   14 remedy” of cross-examination “was insufficient under the circumstances.”
   15 Robertson, 895 F.3d at 1216. Mr. Bercovici observed two witnesses on August 11—
   16 a portion of Rob Pelinka and David Katz—before excusing himself, and he did not
   17 return to the courtroom until he was called to testify. (Bercovici Decl. ¶¶ 1-3.)
   18 Because Plaintiffs elicited from Mr. Bercovici during his direct examination the fact
   19 that he had observed Mr. Katz’s testimony, Defendants were on notice of this issue
   20 and had the opportunity to question Mr. Bercovici about it during cross-
   21 examination. Such questions would have provided jurors with any factual context
   22 Defendants wanted the jury to consider in evaluating Mr. Bercovici’s testimony.
   23         Defendants decided not to ask Mr. Bercovici about the exclusion order during
   24 cross-examination. But that decision speaks only to Defendants’ trial tactics, not the
   25 sufficiency of the remedy. Having decided not to ask Mr. Bercovici about his
   26 presence in court, Defendants cannot establish that the opportunity to cross-examine
   27 was insufficient to cure the violation, or that a more severe remedy should be
   28 imposed. See Robertson, 895 F.3d at 1216. Indeed, it would be patently unfair to
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                                            -8-
                    JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                               VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 9 of 13 Page ID #:32077




    1 instruct the jury that it may infer from Mr. Bercovici’s presence in court that his
    2 testimony was unreliable, when Defendants did not even attempt to introduce any
    3 evidence that might enable a rational juror to draw that inference. Cf. Erickson, 75
    4 F. 3d at 479-80 (holding that rather than moving to exclude the testimony of a
    5 witness who sat through trial, defendant should have remedied any error from this
    6 influence on her testimony through the “usual remedy of cross-examination”).
    7         Three additional considerations suggest that Defendants suffered no prejudice
    8 from Mr. Bercovici’s presence in Court—much less prejudice that Defendants’
    9 opportunity to cross examine did not cure.
   10         First, the Court stopped Mr. Bercovici from making use of what he had
   11 learned from the Katz testimony by preventing Plaintiffs from asking Mr. Bercovici
   12 about that subject. When Plaintiffs asked Mr. Bercovici about testimony provided
   13 by Mr. Katz, the Court sustained Defendants’ objection, and Plaintiffs moved
   14 immediately to a different topic. (Li Decl. Ex. A [Aug. 12, 2022 Tr. Tran.] at
   15 535:10-17.) This undercuts any argument that Mr. Bercovici or Plaintiffs gained an
   16 unfair advantage through violation of the exclusion order.
   17         Second, given that Mr. Bercovici was prevented from testifying about what
   18 he had observed during Mr. Katz’s testimony after Defendants’ objection, Mr.
   19 Bercovici’s testimony did not substantively differ from what it would have been had
   20 not observed any testimony. As an expert, Mr. Bercovici offered opinions based on
   21 his review of case materials, including: “investigative -- Internal Affairs
   22 interviews”; “policies about responding to aviation crashes”; “audiotapes”;
   23 “thousands of documents”; and “surveillance tapes.” (Li Decl. Ex. A [Aug. 12, 2022
   24 Tr. Tran.] at 502:17-503:19.) Mr. Bercovici provided an expert report and testified
   25 about his opinions in a deposition, any of which could have been used to impeach
   26 him had he changed his opinions or testimony in any way. It is also notable that Mr.
   27 Bercovici observed only two witnesses out of the dozens who were deposed or will
   28 testify at trial, and one of those witnesses—Mr. Pelinka—did not testify about any
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                    JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                               VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 10 of 13 Page ID #:32078




    1 issue covered by Mr. Bercovici’s opinions. See United States v. Pulley, 922 F.2d
    2 1283, 1286 (6th Cir. 1991) (no prejudice when two witnesses observed one
    3 another’s testimony when “their mutual presence during trial could not have
    4 undermined the integrity of the fact-finding process”).
    5              Third, after Mr. Bercovici testified, the Court denied Plaintiffs’ request for
    6 Mr. Bercovici to observe the rest of trial so that Plaintiffs might rely on him for
    7 consultation. In Du Preez v. Banis, 2017 WL 3222536, (D. Haw. July 27, 2017), the
    8 district court ordered a similar sanction when the defendants in that case failed to
    9 request advanced permission for their expert witness to attend trial. Id. at *3. The
   10 district court found that “this sanction was sufficient to address any minimal
   11 prejudice that Plaintiff suffered—and any minimal advantage that Defendants
   12 gained” through the expert witness’s prior presence in the courtroom. Id.
   13              The same is true here. Taken together, Defendants’ opportunity to cross-
   14 examine Mr. Bercovici about his presence in court, the absence of any showing that
   15 Mr. Bercovici’s presence affected his testimony, the Court’s decision to prevent
   16 Plaintiffs from eliciting testimony from Mr. Bercovici about his in-court
   17 observations, and the Court’s decision to prevent Mr. Bercovici from observing the
   18 rest of trial cured any potential prejudice to Defendants. Defendants fail to present
   19 any justification for imposing the additional remedy of an adverse inference
   20 instruction to the jury. Accordingly, Defendants’ instruction should be denied.
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                         JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                                    VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 11 of 13 Page ID #:32079




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                   JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                              VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 12 of 13 Page ID #:32080




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                   JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                              VIOLATION OF WITNESS EXCLUSION ORDER
Case 2:20-cv-09582-JFW-E Document 395 Filed 08/18/22 Page 13 of 13 Page ID #:32081




    1                                FILER ATTESTATION
    2        I, Mira Hashmall, attest under Local Rule 5-4.3.4(a)(2)(i) that all other
    3 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
    4 content and have authorized this filing.
    5
    6   Dated: August 18, 2022                                /s/ Mira Hashmall
                                                                Mira Hashmall
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                    JOINT STATEMENT RE DISPUTED JURY INSTRUCTION RE PLAINTIFFS’
                               VIOLATION OF WITNESS EXCLUSION ORDER
